

Ramneg Realty Corp. v Cevallos (2024 NY Slip Op 50750(U))




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Ramneg Realty Corp. v Cevallos


2024 NY Slip Op 50750(U)


Decided on June 20, 2024


Supreme Court, Bronx County


Crawford, J.


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on June 20, 2024
Supreme Court, Bronx County

Ramneg Realty Corp., Plaintiff,

againstAura Marina Cevallos, heir to the estate of JUAN NEGRON, JUAN NEGRON'S respective heirs-at-law, next-of-kin, distributees, executors, administrators, trustees, devisees, legatees, assignees, lienors, creditors, and successors in interest and generally all persons having or claiming under, by or through said, defendant who may be deceased, by purchase, inheritance, lien or otherwise, any right title or interest in the real property described in the complaint herein. Defendants.

Index No. 817590/2022E

Ashlee Crawford, J.

Notice of Motion - Order to Show Cause - Exhibits and Affidavits Annexed
NYSCEF No(s). 10-23
Answering Affidavit and Exhibits NYSCEF No(s). XXXXX
Replying Affidavit and Exhibits NYSCEF No(s). XXXXX
Upon the foregoing papers, the Court holds that:
Plaintiff's motion for default judgment against defendant Aura Marina Cevallos is DENIED and this action is DISMISSED AS A NULLITY, as defendant Aura Marina Cevallos was deceased prior to the commencement of the action and no other defendants have been served (Krysa v Estate of Qyra, 136 A.D3d 760 [1st Dept 2016], lv denied 27 NY3d 907 [2016]; Rivera v Bruchim, 103 AD3d 700 [1st Dept 2013]; Marte v Graber, 58 AD3d 1, 3 [1st Dept 2008]; see NYSCEF Doc. No. 8 [verified return of service]). 
This constitutes the decision and order of the Court.
Dated: 6/20/24
Hon. Ashlee Crawford, A.J.S.C.








